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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF WISCONSIN


COLE NOELDNER,

             Plaintiff,
                                                      Case No. 21-CV-00244
      v.

TAYLOR COUNTY, BRUCE DANIELS (Former
Sheriff of Taylor County), SHERIFF LARRY
WOEBBEKING, LOGAN SCOLES, AARON
BERNAS, RHONDA SACKMAN, JOHN DOES 1-
10, BAILEE CHEEVER, WISCONSIN COUNTY MUTUAL
INSURANCE COMPANY, and ABC INSURANCE COMPANY,

             Defendants.


     TAYLOR COUNTY, BRUCE DANIELS, SHERIFF LARRY WOEBBEKING,
        LOGAN SCOLES, AARON BERNAS, RHONDA SACKMAN AND
     WISCONSIN COUNTY MUTUAL INSURANCE COMPANY’S PROPOSED
         FINDINGS OF FACT IN SUPPORT OF SUMMARY JUDGMENT


      Defendants Taylor County, Bruce Daniels, Sheriff Larry Woebbeking, Logan

Scoles, Aaron Bernas, Rhonda Sackman and Wisconsin County Mutual Insurance

Company, by their attorneys, Crivello Carlson, S.C., respectfully submit the following

Proposed Findings of Fact in support of their Motion for Summary Judgment.

1.    On April 28, 2018, Plaintiff was booked into the Taylor County Jail (“TCJ”). (Dec.

of Woebbeking, ¶ 5.)

2.    Bailee Cheever was employed by Taylor County as a corrections officer at TCJ

from June 23, 2016 to September 20, 2018. (Dec. of Woebbeking, ¶ 6.)
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3.     Chief Deputy Woebbeking did not personally witness any interactions between

Cole Noeldner and Bailee Cheever between April 28, 2018 through September 20, 2018.

(Dec. of Woebbeking, ¶ 7.)

4.     From April 28, 2018 through September 20, 2018, Defendant Cheever worked the

night shift at Taylor County Jail from 10:00 p.m. to 6:30 a.m. (Dec. of Woebbeking, ¶ 8.)

5.     There were always at least three officers assigned to work each shift at TCJ

during the relevant time period. (Dec. of Bernas, ¶ 25; Dec. of Sackman, ¶ 26; Dec. of

Woebbeking, ¶ 9.)

                                       TRAINING

6.     During the relevant time period, newly hired corrections officers were required

to participate in 6-week period of field training during which the newly hired officer

shadows and is trained by one or more designated field training officers. (Dec. of Scoles,

¶ 11; Dec. of Bernas, ¶ 6; Dec. of Sackman, ¶ 5; Dec. of Woebbeking, ¶ 12.)

7.     During field training, newly hired corrections officers read and review the

procedures for various tasks; the assigned field training officer explains and

demonstrates those tasks; the newly hired corrections officer explains the procedures

for the tasks while his or her field training officer demonstrates the tasks; the new hire

practices completing each task according to the procedures; and the new hire

demonstrates his or her proficiency for each task. (Dec. of Scoles, ¶ 12; Dec. of Bernas, ¶

10; Dec. of Sackman, ¶ 7; Dec. of Woebbeking, ¶ 13.)

8.     During field training, newly hired corrections officers are trained on appropriate

interactions and relationships with citizens in general, with other department members,

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and with inmates. This includes training on how to avoid fraternization with inmates.

(Dec. of Scoles, ¶ 13; Dec. of Bernas, ¶ 11; Dec. of Sackman, ¶ 8; Dec. of Woebbeking, ¶

14.)

9.     During the relevant time frame, Taylor County Jail had a Prison Rape

Elimination policy (“PREA policy”) in place that established a zero-tolerance policy for

sexual abuse and sexual harassment between inmates, between corrections officers, and

between inmates and corrections officers. (Dec. of Scoles, ¶ 14; Dec. of Bernas, ¶ 14; Dec.

of Sackman, ¶ 13; Dec. of Woebbeking, ¶ 15.)

10.    During field training, newly hired corrections officers are trained on the

applicable portions of Taylor County Sheriff’s Office’s policy manual. At the completion

of the field training program, all new hires are aware of and familiar with the Jail’s

“Prison Rape Elimination” policy. (Dec. of Scoles, ¶ 15; Dec. of Bernas, ¶ 15; Dec. of

Sackman, ¶ 14; Dec. of Woebbeking, ¶ 16.)

11.    TCJ’s PREA policy states that staff “shall report immediately” any “knowledge,

suspicion, or information” regarding 1) incidents of sexual abuse or harassment that

occurs in the Temporary Holding Facility; 2) retaliation against detainees or staff who

report such incidents; and 3) any neglect or violation of responsibilities on the part of

any staff member that may have contributed to an incident or retaliation. (Dec. of

Woebbeking, ¶ 17.)

12.    During field training on the Jail’s Prison Rape Elimination policy, newly hired

corrections officers are trained that inmates have a right to be free of sexual abuse and



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sexual harassment. (Dec. of Scoles, ¶ 16; Dec. of Bernas, ¶ 16; Dec. of Sackman, ¶ 15;

Dec. of Woebbeking, ¶ 18.)

13.    During field training on the Jail’s Prison Rape Elimination policy, newly hired

corrections officers are trained on the prevention and detection of sexual abuse and

sexual harassment within the Taylor County Jail. (Dec. of Scoles, ¶ 17; Dec. of Bernas, ¶

17; Dec. of Sackman, ¶ 16-17; Dec. of Woebbeking, ¶ 19.)

14.    During field training on the Jail’s Prison Rape Elimination policy, newly hired

corrections officers are trained on communicating effectively and professionally with all

inmates within the Taylor County Jail. (Dec. of Scoles, ¶ 18; Dec. of Bernas, ¶ 18; Dec. of

Woebbeking, ¶ 20.)

15.    As a result of field training on the Jail’s Prison Rape Elimination policy, all TCJ

corrections officers are aware of and understand the fact that the Taylor County

Sheriff’s Office had a zero-tolerance policy toward all forms of sexual abuse and sexual

harassment. (Dec. of Scoles, ¶ 19; Dec. of Bernas, ¶ 19; Dec. of Sackman, ¶ 18; Dec. of

Woebbeking, ¶ 21.)

16.    As a result of field training on the Jail’s Prison Rape Elimination policy, all TCJ

corrections officers are aware of and understand the fact that sexual contact between a

corrections officer and an inmate, with or without consent, constitutes sexual abuse.

(Dec. of Scoles, ¶ 20; Dec. of Bernas, ¶ 20; Dec. of Sackman, ¶ 19; Dec. of Woebbeking, ¶

22.)

17.    As a result of field training on the Jail’s Prison Rape Elimination policy, all TCJ

corrections officer are aware of and understand the fact that any type of consensual

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sexual activity or contact between correctional staff and inmates is prohibited, even

when no objections are raised or the contact otherwise appears to be consensual. (Dec.

of Scoles, ¶ 21; Dec. of Bernas, ¶ 21; Dec. of Sackman, ¶ 20; Dec. of Woebbeking, ¶ 23.)

18.    All newly hired corrections officers are trained and made aware that sexual

contact of any kind between an inmate and a corrections officer is prohibited by the

Jail’s policies and is, in fact, illegal. (Dec. of Scoles, ¶ 22; Dec. of Bernas, ¶ 22; Dec. of

Sackman, ¶ 21; Dec. of Woebbeking, ¶ 24.)

19.    Defendant Cheever, Officer Scoles, Officer Sackman, and Officer Bernas all

successfully completed the field training process upon being hired. (Dec. of

Woebbeking, ¶ 12.)

20.    During the relevant time frame, in addition to regular inservice training, Taylor

County Jail administrators regularly provided informal reminders and training about

the importance of avoiding fraternization and about the Jail’s Prison Rape Elimination

policy. (Dec. of Scoles, ¶ 23; Dec. of Bernas, ¶ 23; Dec. of Sackman, ¶ 22; Dec. of

Woebbeking, ¶ 25.)

21.    TCJ has a specific policy pertaining to staff and inmate contact. All newly hired

corrections officers are trained on this policy when they are hired. In part, it states that

staff shall not become overly familiar with inmates and shall not engage in sexual acts

or salacious conversations and shall not exchange inappropriate notes or letters with

inmates. Staff are required to promptly report all attempts by inmates to initiate sexual

acts. (Dec. of Bernas, ¶ 27; Dec. of Sackman, ¶ 23; Dec. of Woebbeking, ¶ 26.)



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22.    TCJ’s policy on Standards of Conduct confirms that it is a “cause for discipline”

for employees to solicit or engage in on-duty sexual activity with inmates. (Dec. of

Bernas, ¶ 28; Dec. of Sackman, ¶ 24; Dec. of Woebbeking, ¶ 27.)

23.    TCJ’s policy on Standards of Conduct states that it is a “cause for discipline”

where a staff member fails to promptly and fully report “activities on his/her part or

the part of any other member where such activities … may result in criminal

prosecution or discipline under this policy” or for failing to promptly and fully report

“any other on-duty conduct which any member knows or reasonably should know is

unbecoming of a member of this agency, is contrary to good order, efficiency or morale,

or tends to reflect unfavorably upon this office or its members.” (Dec. of Woebbeking, ¶

28.)

24.    During the relevant time period, all newly hired corrections officers must agree

to follow the Wisconsin Jail Officer Code of Ethics, which is based on Wisconsin

Administrative Code Section LES 3.01(2)(h). (Dec. of Woebbeking, ¶ 29.)

25.    During the relevant time period, all officers hired by Taylor County as

corrections officers were required to complete a 160-hour course in jail officer basic

training through a training school certified by the Wisconsin Department of Justice Law

Enforcement Standards Board. The topics of coursework and study are dictated by the

Law Enforcement Standards Board. (Dec. of Woebbeking, ¶ 30.)

26.    If not already completed at the time of hire, all officers hired by Taylor County as

corrections officers were required to complete the above referenced 160-hour course in

jail officer basic training within two years of the officer’s date of hire, as set forth in

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Wisconsin Administrative Code §§ LES 3.01(1)(c) and 3.01(2)(c). (Dec. of Woebbeking, ¶

31.)

27.     Defendant Cheever, Officer Scoles, and Officer Bernas had all completed a 160-

hour course in jail officer basic training through a training school certified by the

Wisconsin Department of Justice Law Enforcement Standards Board on or before June

7, 2018. (Dec. of Woebbeking, ¶ 11; Dkt. No. 44, ¶ 10; Dec. of Bernas, ¶ 3; Dec. of Scoles,

¶ 4.)

28.     Officer Sackman completed a 160-hour course in jail officer basic training

through a training school certified by the Wisconsin Department of Justice Law

Enforcement Standards Board on February 8, 2019. (Dec. of Sackman, ¶ 3.)

29.     On May 31, 2018, Officer Sackman completed three hours of PREA-related

training required and provided by Taylor County Jail. (Dec. of Sackman, ¶ 4; Dec. of

Woebbeking, ¶ 80, Ex. I.)

30.     On April 2, 2018, Officer Bernas completed 90 minutes of training that included

training on sexual harassment required and provided by Taylor County Jail. (Dec. of

Bernas, ¶ 4; Dec. of Woebbeking, ¶ 79, Ex. H.)

31.     On May 28, 2018, Officer Bernas completed three hours of PREA-related training

required and provided by Taylor County Jail. (Dec. of Bernas, ¶ 5; Dec. of Woebbeking,

¶ 79, Ex. H.)

32.     On April 25, 2017, Officer Scoles completed two hours of training regarding

PREA and inmate manipulation that was required and provided by Taylor County Jail.

(Dec. of Scoles, ¶ 5; Dec. of Woebbeking, ¶ 78, Ex. G.)

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33.    On April 6, 2018, Officer Scoles completed 90 minutes of training that included

training on sexual harassment required and provided by Taylor County Jail. (Dec. of

Scoles, ¶ 6; Dec. of Woebbeking, ¶ 78, Ex. G.)

34.    On May 23, 2018, Officer Scoles completed three hours of PREA-related training

required and provided by Taylor County Jail. (Dec. of Scoles, ¶ 7; Dec. of Woebbeking,

¶ 78, Ex. G.)

35.    On April 24, 2017, Defendant Cheever completed two hours of training

regarding PREA and inmate manipulation that was required and provided by Taylor

County Jail. (Dec. of Woebbeking, ¶ 77, Ex. F.)

36.    On April 2, 2018, Defendant Cheever completed 90 minutes of training that

included training on sexual harassment required and provided by Taylor County Jail.

(Dec. of Woebbeking, ¶ 77, Ex. F.)

37.    On May 23, 2018, Defendant Cheever completed three hours of PREA-related

training that was required and provided by Taylor County Jail. (Dec. of Woebbeking, ¶

77, Ex. F.)

                                 OFFICER SACKMAN

38.    Rhonda Sackman was hired as a corrections officer by Taylor County on May 7,

2018. (Dec. of Sackman, ¶ 2.)

39.    From May 7, 2018 through September 20, 2018, Officer Sackman usually worked

either the afternoon shift at TCJ from 2:00 p.m. to 10:30 p.m., or the night shift at TCJ

from 10:00 p.m. to 6:30 a.m. (Dec. of Sackman, ¶ 25.)




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40.   One of Officer Sackman’s field training officers was Bailee Cheever. (Dec. of

Sackman, ¶ 6.)

41.   During Officer Sackman’s field training, Defendant Cheever specifically warned

Officer Sackman against fraternization. Defendant Cheever told Officer Sackman to

avoid certain actions that might be misinterpreted by inmates as being indications of

friendship or interest in them personally. (Dec. of Sackman, ¶ 9.)

42.   During Officer Sackman’s field training, Defendant Cheever told Officer

Sackman not to dress up too much or look too “made-up” while on duty. Defendant

Cheever told Officer Sackman that as female corrections officers, they were not there to

impress anyone and their job was to maintain the safety and security of the jail. (Dec. of

Sackman, ¶ 10.)

43.   During Officer Sackman’s field training, Defendant Cheever also told Officer

Sackman that it was important to let inmates talk and vent a little so that they feel

respected and heard. Officer Sackman personally witnessed Defendant Cheever

speaking at length with many inmates in this manner while Officer Sackman was

shadowing Defendant Cheever. (Dec. of Sackman, ¶ 11.)

44.   Officer Sackman felt Defendant Cheever’s approach allowing inmates to talk and

vent was very effective in the right circumstances or situation. (Dec. of Sackman, ¶ 11.)

45.   Based on conversations during Officer Sackman’s field training, it was Officer

Sackman’s understanding that Defendant Cheever had the philosophy of allowing

inmates to talk and vent because it can help avoid grievances and disputes and it



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generally helps facilitate the safety and security of the jail and its inmates. (Dec. of

Sackman, ¶ 12.)

46.    By about early September of 2018, Officer Sackman began to notice that

Defendant Cheever and Mr. Noeldner occasionally engaged in longer and more

frequent conversations on the intercom than most other inmates who called into the

pod on the intercom. (Dec. of Sackman, ¶ 28.)

47.    By early September of 2018, Mr. Noeldner appeared to be focusing his attention

specifically on Defendant Cheever when he called to the control pod on the intercom.

(Dec. of Sackman, ¶ 29.)

48.    In early September of 2018, Officer Sackman overheard discussions between Mr.

Noeldner and Defendant Cheever about things like recent Packers games and

Defendant Cheever’s weekend plans. (Dec. of Sackman, ¶ 30.)

49.    Although the topics of conversation that Officer Sackman overheard between

Mr. Noeldner and Defendant Cheever were not totally unusual, Officer Sackman felt

the conversations seemed casual and seemed to happen too frequently. (Dec. of

Sackman, ¶ 31.)

50.    Officer Sackman never heard anything spoken between Mr. Noeldner and

Defendant Cheever that was at all sexual or flirtatious in nature at any time. (Dec. of

Sackman, ¶ 32.)

51.    Officer Sackman never saw anything sexual or flirtatious in nature occur

between Mr. Noeldner and Defendant Cheever at any time. (Dec. of Sackman, ¶ 33.)



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52.    Officer Sackman never saw any physical contact between Defendant Cheever

and Mr. Noeldner other than that which is normal and expected as incidental to

incarceration—such as minor contact while securing an inmate in restraints or while

escorting an inmate through the facility. (Dec. of Sackman, ¶ 34.)

53.    By approximately early September of 2018, Officer Sackman began to grow

somewhat concerned about the informality and frequency of Mr. Noeldner’s

conversations with Defendant Cheever. (Dec. of Sackman, ¶ 35.)

54.    Officer Sackman felt that the tone and frequency of the conversations she

overheard between Mr. Noeldner and Defendant Cheever did not seem to rise to the

level of any kind of misconduct, but they did make Officer Sackman somewhat uneasy.

(Dec. of Sackman, ¶ 36.)

55.    In early September of 2018, Officer Sackman approached Officer Scoles and

mentioned the conversations between Mr. Noeldner and Defendant Cheever to see

what he thought. (Dec. of Scoles, ¶ 28; Dec. of Sackman, ¶ 37.)

56.    Officer Sackman did not want to jump to any conclusions about what the

conversations she overheard between Mr. Noeldner and Defendant Cheever might or

might not mean. (Dec. of Sackman, ¶ 38.)

57.    When Officer Sackman spoke with Officer Scoles in early September of 2018,

Officer Sackman told Officer Scoles that Mr. Noeldner appeared to be overly friendly

with Defendant Cheever and Officer Sackman recounted some of her observations.

(Dec. of Scoles, ¶ 29; Dec. of Sackman, ¶ 39.)



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58.       After Officer Sackman relayed her observations to Officer Scoles, Officer Scoles

agreed that Defendant Cheever’s conversations with Mr. Noeldner seemed

unprofessional. (Dec. of Scoles, ¶ 31; Dec. of Sackman, ¶ 41.)

59.       Officer Scoles indicated to Officer Sackman that he did not want to make any

presumptions about Defendant Cheever given the minimal amount and subjective and

speculative nature of information, along with the fact that he had not personally

witnessed any of it. (Dec. of Scoles, ¶ 32; Dec. of Sackman, ¶ 41.)

60.       At the conclusion of Officer Sackman’s and Officer Scoles’s conversation, Officer

Scoles told Officer Sackman that she should be the one to inform a sergeant about

Defendant Cheever’s conversations if Officer Sackman felt it was warranted. (Dec. of

Scoles, ¶ 33; Dec. of Sackman, ¶ 42.)

61.       After speaking with Officer Scoles, Officer Sackman decided to keep her eye out

for instances of conduct between Mr. Noeldner and Defendant Cheever that might

suggest that Officer Sackman should report things to her supervisors. (Dec. of Sackman,

¶ 43.)

62.       In approximately mid-September of 2018, Officer Sackman began noticing that

Defendant Cheever had started to dress nicely and wear makeup when she had not

done so before. (Dec. of Sackman, ¶ 44.)

63.       In approximately mid-September of 2018, Officer Sackman began noticing that

Defendant Cheever had started to watch the camera feeds from Mr. Noeldner’s cell

block frequently. (Dec. of Sackman, ¶ 45.)



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64.    In approximately mid-September of 2018, Officer Sackman noticed what she

thought could be suspicious “looks” between Defendant Cheever and Mr. Noeldner.

(Dec. of Sackman, ¶ 46.)

65.    By   approximately     mid-September      of   2018,   Officer   Sackman    had   an

uncomfortable feeling about Defendant Cheever and Mr. Noeldner that she could not

shake. (Dec. of Sackman, ¶ 47.)

66.    On September 17, 2018, Officer Sackman was working the same shift as Officer

Scoles and she mentioned to Officer Scoles that she noticed Defendant Cheever had

begun to dress nicely and was wearing makeup when she had not done so before. (Dec.

of Scoles, ¶ 40; Dec. of Sackman, ¶ 48.)

67.    On September 17, 2018, Officer Sackman told Officer Scoles that she had also

noticed that Defendant Cheever had begun watching the camera feeds from Mr.

Noeldner’s cell block frequently. (Dec. of Scoles, ¶ 41; Dec. of Sackman, ¶ 49.)

68.    On September 17, 2018, Officer Sackman told Officer Scoles that she had seen

what could be suspicious “looks” between Defendant Cheever and Mr. Noeldner and

that she had an uncomfortable feeling around them that she could not shake. (Dec. of

Scoles, ¶ 42; Dec. of Sackman, ¶ 50.)

69.    On September 17, 2018, Officer Sackman told Officer Scoles that she had not seen

anything sexual or flirtatious happen between Defendant Cheever and Mr. Noeldner.

(Dec. of Scoles, ¶ 30; Dec. of Sackman, ¶ 50.)

70.    As of September 17, 2018, Officer Sackman was not sure if she was just reading

into things or jumping to conclusions. Officer Sackman did not want to accuse

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Defendant Cheever of doing something wrong if it was just Officer Sackman’s

imagination getting carried away. (Dec. of Sackman, ¶ 51.)

71.    As of September 17, 2018, Officer Sackman discussed her concerns with Officer

Scoles because she wanted to make sure she knew how to approach her concerns if she

did see or hear anything happen between Defendant Cheever and Mr. Noeldner that

should be reported. (Dec. of Sackman, ¶ 52.)

72.    Officer Scoles told Officer Sackman that Officer Bernas had noticed that

Defendant Cheever was taking longer and more frequent trips to the medication room

with Mr. Noeldner. (Dec. of Sackman, ¶ 53.)

73.    Based on what Officer Sackman told Officer Scoles, Officer Scoles was not sure if

Officer Sackman was just reading into things or jumping to conclusions. Officer Scoles

did not want to make unfounded accusations against anyone. But Officer Scoles also felt

that if objective evidence existed to corroborate Officer Sackman’s concerns, the

situation should be brought to the attention of a supervisor. (Dec. of Scoles, ¶ 43.)

74.    Based on Officer Sackman’s concerns and what Officer Bernas had reported to

Officer Scoles, Officer Scoles and Officer Sackman decided to randomly check camera

footage to see if there was any objective evidence of overly long intercom conversations

or overly long trips by Defendant Cheever and Mr. Noeldner to the medication room.

(Dec. of Scoles, ¶ 44; Dec. of Sackman, ¶ 54.)

75.    Officer Scoles felt that if there was video evidence supporting what Officer

Bernas and/or Officer Sackman were seeing, the situation would rise to the level of

reportable potential misconduct. (Dec. of Scoles, ¶ 45.)

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76.    Upon reviewing the surveillance footage on September 17, 2018 from several

recent, random dates, Officer Scoles and Officer Sackman were able to confirm that

Defendant Cheever had recently made frequent and lengthy visits to the medication

room where she would meet Mr. Noeldner and move out of view of the camera, and

she and Mr. Noeldner had engaged in multiple lengthy intercom conversations. (Dec. of

Scoles, ¶ 46; Dec. of Sackman, ¶ 55.)

77.    Based on what Officer Scoles and Officer Sackman saw in the surveillance

videos, along with what Officer Sackman and Officer Bernas had reported observing,

Officer Scoles and Officer Sackman decided that the only proper course of action was to

promptly bring the issue to the attention of their superiors for further investigation if

they deemed it necessary. (Dec. of Scoles, ¶ 47; Dec. of Sackman, ¶ 56.)

78.    Officer Scoles told Officer Sackman that he would communicate her concerns

and what they found on the surveillance footage to their supervisors. (Dec. of Scoles, ¶

48; Dec. of Sackman, ¶ 57.)

79.    Officer Sackman had absolutely no idea that Defendant Cheever and Mr.

Noeldner were engaged in any kind of sexual contact or sexual relationship until jail

administrators notified Officer Sackman of Defendant Cheever’s resignation and of the

ensuing investigation. (Dec. of Sackman, ¶ 58.)

                                   OFFICER BERNAS

80.    Officer Bernas was employed by Taylor County as a corrections officer at TCJ

from April 21, 2017 to March 5, 2021. (Dec. of Bernas, ¶ 2.)




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81.      April 26, 2018 through September 20, 2018, Officer Bernas worked all shifts at

TCJ, but he worked the night shift at TCJ from 10:00 p.m. to 6:30 a.m. the most. (Dec. of

Bernas, ¶ 24.)

82.      One of Officer Bernas’s field training officers was Bailee Cheever. (Dec. of Bernas,

¶ 7.)

83.      During his employment as a TCJ corrections officer, Officer Bernas never had

any problems with Defendant Cheever and she seemed to Officer Bernas like a good

corrections officer who was effective and respected. (Dec. of Bernas, ¶ 8.)

84.      During his employment as a TCJ corrections officer, Officer Bernas was not

aware of any concerns or complaints about Defendant Cheever’s conduct or

professionalism and was unaware of any disciplinary issues involving Defendant

Cheever. (Dec. of Bernas, ¶ 9.)

85.      Officer Bernas never heard anything spoken between Mr. Noeldner and

Defendant Cheever that was at all sexual or flirtatious in nature at any time. (Dec. of

Bernas, ¶ 29.)

86.      Officer Bernas never saw anything sexual or flirtatious in nature occur between

Mr. Noeldner and Defendant Cheever at any time. (Dec. of Bernas, ¶ 30.)

87.      Officer Bernas never saw any physical contact between Defendant Cheever and

Mr. Noeldner other than that which is normal and expected as incidental to

incarceration—such as minor contact while securing an inmate in restraints or while

escorting an inmate through the facility. (Dec. of Bernas, ¶ 31.)



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88.    Officer Bernas never saw or heard anything occur between Mr. Noeldner and

Defendant Cheever that would rise to the level of misconduct. (Dec. of Bernas, ¶ 32.)

89.    During Officer Bernas’s field training, Defendant Cheever told Officer Bernas

that it was important to let inmates talk and vent a little so that they feel respected and

heard. (Dec. of Bernas, ¶ 12.)

90.    Officer Bernas personally witnessed Defendant Cheever speaking at length with

many inmates in this manner while he was shadowing her during field training, and

Officer Bernas felt it was very effective in the right circumstances or situation. Dec. of

Bernas, ¶ 12.)

91.    Based on their conversations during Officer Bernas’s field training, it was Officer

Bernas’s understanding that Defendant Cheever had the philosophy of allowing

inmates to talk and vent because it can help avoid grievances and disputes and it

generally helps facilitate the safety and security of the jail and its inmates. (Dec. of

Bernas, ¶ 13.)

92.    In mid-September of 2018, Officer Bernas began to notice that Mr. Noeldner

seemed to be paying more attention to Defendant Cheever than any other pod officers

working the night shift. Mr. Noeldner would call the control pod on the intercom more

often when Defendant Cheever was working, he seemed to take on a very friendly and

causal tone with Defendant Cheever, and Mr. Noeldner would ask Defendant Cheever

to get him Tylenol from the medication room more frequently than he would ask other

officers on duty. (Dec. of Bernas, ¶ 33.)



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93.     Officer Bernas saw and heard Mr. Noeldner ask for Tylenol from other pod

officers at times, and Officer Bernas obtained Tylenol for Mr. Noeldner at times. (Dec. of

Bernas, ¶ 34.)

94.     Based on his observations, it appeared to Officer Bernas that Mr. Noeldner was

instigating contact with Defendant Cheever and Officer Bernas became suspicious that

Mr. Noeldner might be trying to manipulate Defendant Cheever to get favors like extra

food, better housing assignments, or more freedoms and privileges. (Dec. of Bernas, ¶

35.)

95.     Officer Bernas knew from his training that inmates may try to manipulate

corrections officers for any number of reasons, including to get favors, to pass

contraband, for sexual gratification, to assert power or control, and even out of

boredom for entertainment. (Dec. of Bernas, ¶ 36.)

96.     As of mid-September of 2018, it was Officer Bernas’s opinion that Defendant

Cheever was a very good employee who often spoke to many inmates at length in a

caring but professional manner about all sorts of issues. The fact that Defendant

Cheever had lengthy conversations with any given inmate was not unprecedented or

unusual. (Dec. of Bernas, ¶ 37.)

97.     Officer Bernas observed an incident in which Defendant Cheever sat with a

female inmate who was having a panic attack for over an hour, calmly talking the

inmate through it. (Dec. of Bernas, ¶ 38.)

98.     In Officer Bernas’s opinion, Defendant Cheever’s approach not only displayed

kindness and respect for the inmate, it also helped the jail run smoothly. Because

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Defendant Cheever was able to keep the inmate calm, officers did not have to page

medical staff or transport the inmate to the hospital. (Dec. of Bernas, ¶ 39.)

99.     In Officer Bernas’s opinion, Defendant Cheever treated inmates with dignity and

seemed to believe that spending some time listening to them and their complaints could

help ensure smooth operations of the jail in the long run. (Dec. of Bernas, ¶ 40.)

100.    Officer Bernas worried that Defendant Cheever’s approach of openness and

kindness towards inmates, even though entirely professional, could make her a target

for certain inmates who might try to manipulate her. (Dec. of Bernas, ¶ 41.)

101.    Officer Bernas worried that longer trips to the medication room with an inmate

could jeopardize Defendant Cheever’s safety. (Dec. of Bernas, ¶ 42.)

102.    Despite Officer Bernas’s concerns about the potential for manipulation, based on

his observations, Officer Bernas never suspected or worried that Mr. Noeldner and

Defendant Cheever were engaged in any kind of sexual or romantic contact or that Mr.

Noeldner was trying to manipulate Defendant Cheever for sexual gratification (or vice

versa). (Dec. of Bernas, ¶ 43.)

103.    In mid-September of 2018, Officer Bernas approached Officer Jason Ray, who

often worked with Defendant Cheever on the night shift, because Officer Bernas

thought maybe Mr. Noeldner had a medical condition that required frequent use of

Tylenol. Officer Bernas asked Officer Ray about Mr. Noeldner requesting medication

during the night shift. Officer Bernas said that when he worked on the day shift, Mr.

Noeldner rarely asked for medication. (Dec. of Bernas, ¶ 44.)



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104.    Officer Ray told Officer Bernas that Mr. Noeldner did frequently request Tylenol

on the night shift and that Defendant Cheever usually volunteered to get it from the

medication room. Officer Ray also told Officer Bernas that Defendant Cheever’s trips to

the medication room seemed to take a long time. (Dec. of Bernas, ¶ 45.)

105.    Officer Bernas never saw or heard any contact between Defendant Cheever and

Mr. Noeldner in which it appeared that Mr. Noeldner was in fact manipulating

Defendant Cheever. (Dec. of Bernas, ¶ 46.)

106.    Officer Bernas believed the potential for Mr. Noeldner to manipulate Defendant

Cheever existed. (Dec. of Bernas, ¶ 46.)

107.    In mid-September of 2018, Officer Bernas approached Officer Scoles and told him

that he thought Mr. Noeldner might be manipulating Defendant Cheever. (Dec. of

Scoles, ¶ 34; Dec. of Bernas, ¶ 47.)

108.    Officer Bernas told Officer Scoles that he believed Defendant Cheever’s trips to

the medication room with Mr. Noeldner were taking longer than necessary. Officer

Bernas also told Officer Scoles that Mr. Noeldner seemed to be focusing his attention on

Defendant Cheever. (Dec. of Scoles, ¶ 35; Dec. of Bernas, ¶ 48.)

109.    Officer Bernas told Officer Scoles that he had not seen anything occur between

Mr. Noeldner and Defendant Cheever that would rise to the level of misconduct, and he

told this to Officer Scoles. (Dec. of Scoles, ¶ 36; Dec. of Bernas, ¶ 49.)

110.    Officer Bernas told Officer Scoles that Defendant Cheever’s long trips to the

medication room made him uneasy about Defendant Cheever’s safety and Officer



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Bernas asked Officer Scoles for advice on how to handle what he was seeing. (Dec. of

Scoles, ¶ 37; Dec. of Bernas, ¶ 50.)

111.    Officer Scoles listened to Officer Bernas and agreed that if Defendant Cheever

was taking long trips to the medication room with an inmate, that seemed

unprofessional and could also jeopardize her safety. (Dec. of Scoles, ¶ 38-39; Dec. of

Bernas, ¶ 51.)

112.    A day or two later, on September 18, 2018, Officer Bernas was working third shift

at TCJ with Defendant Cheever. Officer Bernas approached Defendant Cheever and told

her that he had noticed Mr. Noeldner calling the control pod more often when she was

working. (Dec. of Bernas, ¶ 52.)

113.    Officer Bernas told Defendant Cheever that he thought it was taking longer than

it should for her to get Tylenol for Mr. Noeldner from the medication room. (Dec. of

Bernas, ¶ 53.)

114.    Officer Bernas told Defendant Cheever that it could just be coincidental, but

Officer Bernas was concerned about the potential for manipulation and for Defendant

Cheever’s safety while she was in the medication room. (Dec. of Bernas, ¶ 54.)

115.    Officer Bernas asked Defendant Cheever to make Mr. Noeldner stand in the hall

where he would be visible on the surveillance cameras when getting Tylenol for him

from the medication room. (Dec. of Bernas, ¶ 55.)

116.    Defendant Cheever agreed to make Mr. Noeldner stand within view of the

surveillance camera. (Dec. of Bernas, ¶ 56.)



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117.    Defendant Cheever told Officer Bernas that the trips to the medication room

were taking a little longer because Mr. Noeldner was feeling depressed and had told

her that it helped talking through things with her. (Dec. of Bernas, ¶ 57.)

118.    Officer Bernas had absolutely no idea that Defendant Cheever and Mr. Noeldner

were engaged in any kind of sexual contact or sexual relationship until jail

administrators notified Officer Bernas of her resignation and of the ensuing

investigation. (Dec. of Bernas, ¶ 58.)

                                    OFFICER SCOLES

119.    Officer Scoles was employed by Taylor County as a corrections officer at TCJ

from June 26, 2015 through November, 2018. (Dec. of Scoles, ¶ 2-3.)

120.    April 26, 2018 through September 20, 2018, Officer Scoles worked the afternoon

shift from 2:00 p.m. to 10:30 p.m. Officer Scoles did not work the night shift. (Dec. of

Scoles, ¶ 8.)

121.    Officer Scoles did not work with Defendant Cheever. At most, Officer Scoles and

Defendant Cheever would see each other for maybe 30 minutes at the end of Officer

Scoles’s shift as Defendant Cheever’s shift began. (Dec. of Scoles, ¶ 9.)

122.    Officer Scoles never had any problems with Defendant Cheever and she seemed

to him like a good corrections officer who was effective and respected. (Dec. of Scoles, ¶

9.)

123.    Officer Scoles was not aware of any concerns or complaints about Defendant

Cheever’s conduct or professionalism and was unaware of any disciplinary issues

involving Defendant Cheever. (Dec. of Scoles, ¶ 10.)

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124.    Officer Scoles never observed or overheard any interaction of any kind between

Defendant Cheever and Mr. Noeldner. (Dec. of Scoles, ¶ 25.)

125.    Officer Scoles never observed or overheard Mr. Noeldner speaking about

Defendant Cheever. (Dec. of Scoles, ¶ 26.)

126.    Officer Scoles never observed or overheard Defendant Cheever speaking about

Mr. Noeldner. (Dec. of Scoles, ¶ 27.)

127.    On September 18, 2018 at 8:06 p.m., Officer Scoles sent an email to jail

administrators about the observations and concerns raised by Officers Sackman and

Bernas and Officer Scoles’s observations of the surveillance footage. Officer Scoles

identified the specific camera footage that he and Officer Sackman had reviewed

showing intercom conversations between Defendant Cheever and Plaintiff of 45

minutes, 20 minutes, 16 minutes, 13 minutes, 20 minutes, and 33 minutes. It also

showed two trips to the medication room that took 9 minutes each. (Dec. of Scoles, ¶ 49;

Dec. of Woebbeking, ¶ 54, Ex. B.)

                                 ADMINISTRATORS

128.    Chief Deputy, Larry Woebbeking (now Sheriff) responded to Officer Scoles’s

September 18, 2018 email at 8:34 p.m. He thanked Officer Scoles for informing them of

their concerns, confirmed it was the appropriate thing to do, advised that they would be

looking into the concerns further, and asked Officer Scoles to keep the matter

confidential. (Dec. of Woebbeking, ¶ 54.)




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129.    Sheriff Bruce Daniels responded separately to Chief Deputy Woebbeking by

email at 9:18 p.m. on September 18, 2018 and stated that they would meet in the

morning to determine their next steps. (Dec. of Woebbeking, ¶ 55.)

130.    On the morning of September 19, 2018, Sergeant Angie Becker, Sheriff Daniels,

and Chief Deputy Woebbeking met to discuss Officer Scoles’s email. (Dec. of

Woebbeking, ¶ 56.)

131.    Chief Deputy Woebbeking directed Sergeant Becker to search text messages sent

to and received by Mr. Noeldner to see if she could gather any relevant information for

their investigation, such as references to Defendant Cheever, medications, or any

indications that Mr. Noeldner may be trying to manipulate Defendant Cheever or vice

versa. (Dec. of Woebbeking, ¶ 57.)

132.    Sergeant Becker reported back to Chief Deputy Woebbeking that she noticed a

significant number of text messages beginning on August 15, 2018 between Mr.

Noeldner and a person with a name and phone number that was not Defendant

Cheever’s name or number. (Dec. of Woebbeking, ¶ 60.)

133.    Sergeant Becker told Chief Deputy Woebbeking that based on the context of the

texts, which were romantic and/or sexual in nature, Sergeant Becker suspected that the

text messages could be from Defendant Cheever even though the sender was identified

by multiple different names and phone numbers—none of which were Bailee Cheever.

(Dec. of Woebbeking, ¶ 61.)

134.    Sergeant Becker provided Chief Deputy Woebbeking with information from

control pod footage that she had reviewed from times while Defendant Cheever was

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working. Sergeant Becker noted that when Mr. Noeldner and Defendant Cheever were

talking on the intercom, Defendant Cheever ended the conversations when other

officers walked down the hall nearby. Defendant Cheever would then resume the

intercom conversations once the officers were no longer in the hall. (Dec. of

Woebbeking, ¶ 62.)

135.    By 11:30 a.m. on September 19, 2018, Sheriff Daniels and Chief Deputy

Woebbeking met with Taylor County’s Human Resources Director to advise her of the

situation. (Dec. of Woebbeking, ¶ 58.)

136.    Chief Deputy Woebbeking called Defendant Cheever on September 19, 2018 and

they arranged to meet at 8:00 p.m. –within 24 hours of administration being notified of

the officers’ concerns. (Dec. of Woebbeking, ¶ 59.)

137.    After calling Defendant Cheever, Chief Deputy Woebbeking called Taylor

County’s corporation counsel and informed her of the text messages identified by

Sergeant Becker suggesting that sexual contact may have occurred at the jail between

Defendant Cheever and Mr. Noeldner. In light of this information, corporation counsel

advised Chief Deputy Woebbeking not to proceed with an internal investigation.

Rather, they should contact an outside agency to conduct an investigation. (Dec. of

Woebbeking, ¶ 63.)

138.    On September 19, 2018, Chief Deputy Woebbeking contacted Marathon County

Sheriff’s Office and requested their assistance, which they agreed to provide. (Dec. of

Woebbeking, ¶ 64.)



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139.    Chief Deputy Woebbeking met with Defendant Cheever as planned at 8:00 p.m.

on September 19, 2018 at the Sheriff’s Office. (Dec. of Woebbeking, ¶ 65.)

140.    Chief Deputy Woebbeking gave Defendant Cheever a letter signed by Sheriff

Daniels stating that she was relieved of duty with pay pending the completion of an

investigation into allegations that she had engaged in misconduct involving

inappropriate contact with an inmate. (Dec. of Woebbeking, ¶ 66.)

141.    Chief Deputy Woebbeking told Defendant Cheever that the Marathon County

Sheriff’s Office would be conducting the investigation and someone would likely be in

contact with her. (Dec. of Woebbeking, ¶ 67.)

142.    On September 20, 2018, Defendant Cheever submitted a handwritten note to

Taylor County stating that she was resigning. (Dec. of Woebbeking, ¶ 68.)

143.    Prior to this incident with Bailee Cheever, the Taylor County Jail has never had

an incident in which a corrections officer engaged in sexual contact or communication

with an inmate or was accused of doing so. (Dec. of Woebbeking, ¶ 69.)

144.    Prior to this 2018 incident, Defendant Cheever had never been suspected of,

accused of, or disciplined for any kind of inappropriate contact or conduct with

inmates. (Dec. of Woebbeking, ¶ 70.)

145.    During her employment with Taylor County, Defendant Cheever was never

suspected of, accused of, or disciplined for any kind of sexually inappropriate contact,

conduct, or harassment with or toward other jail staff. (Dec. of Woebbeking, ¶ 71.)

146.    Going back at least as far as February, 2007 when Chief Deputy Woebbeking

started as Chief Deputy at TCJ, and other than the 2018 incident with Defendant

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Cheever, no correctional officer employed at the Taylor County Jail has ever been

accused of, investigated for, or disciplined as a result of engaging in sexual contact or

conduct with inmates. Sheriff Woebbeking is not aware of any past instances of such

accusations, investigations, or discipline at TCJ. (Dec. of Woebbeking, ¶ 2, 72.)

147.    Going back at least as far as February, 2007 when Chief Deputy Woebbeking

started as Chief Deputy at TCJ, no correctional officer employed at the Taylor County

Jail has ever been accused of, investigated for, or disciplined as a result of engaging in

any kind of sexually inappropriate contact, conduct, or harassment with or toward

other jail staff. Sheriff Woebbeking is not aware of any past instances of such

accusations, investigations, or discipline at TCJ. (Dec. of Woebbeking, ¶ 2, 73.)

148.    Going back at least as far as February, 2007 when Chief Deputy Woebbeking

started as Chief Deputy at TCJ, no inmate has ever filed a grievance or otherwise

complained about an insufficient reporting system for instances of sexual assault or

abuse. Sheriff Woebbeking is not aware of any difficulties or concerns related to TCJ’s

inmate reporting system. (Dec. of Woebbeking, ¶ 2, 74.)

                                    INMATE RULES

149.    TCJ’s inmate rules are provided in list format. There are 32 enumerated rules,

including “zero tolerance for sexual abuse/misconduct.” (Dec. of Woebbeking, ¶ 32.)

150.    All inmates receive a copy of TCJ’s inmate rules when booked into the jail. The

booking officer also verbally reviews the rules and regulations with each inmate during

the booking process, including the jail’s zero tolerance policy. (Dec. of Woebbeking, ¶

33.)

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151.    During the relevant time period, “Zero Tolerance” posters printed in English,

Spanish, and Hmong were posted in multiple locations, including inmate living areas,

throughout the jail. (Dec. of Woebbeking, ¶ 34.)

152.    TCJ’s inmate rules state that inmates “may report sexual misconduct/abuse

verbally to any staff member, in writing to any staff member, may report

anonymously.” (Dec. of Woebbeking, ¶ 35.)

153.    During the relevant time, TCJ had in place a program for inmates to use jail-

issued iPads to send and receive text messages. (Dec. of Woebbeking, ¶ 36, Ex. K.)

154.    TCJ inmates participating in the iPad program are made aware that all text

messages sent and received are recorded and subject to review by jail officials. (Dec. of

Woebbeking, ¶ 37.)

155.    A TCJ inmate participating in the iPad program receives a jail-issued device with

a dedicated phone number. (Dec. of Woebbeking, ¶ 38.)

156.    TCJ inmates participating in the iPad program may not use the device to contact

or communicate with other inmates, victims, witnesses, or anyone with a court-issued

no-contact order. (Dec. of Woebbeking, ¶ 39.)

157.    Correctional officers are directed to routinely review inmate text messages as

time permits to identify any inappropriate or illegal messages or conduct for the safety

and security of the jail. (Dec. of Woebbeking, ¶ 40.)

158.    Inmate text messages are not considered inappropriate or illegal simply because

they are sexual in tone or topic. Rather, text messages may be considered inappropriate

if they involve threats or harassment; attempts to violate probation, court orders, or the

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law; attempts to coordinate the sending or receipt of contraband; or if they provide

information that could jeopardize the safety and security of the jail.           (Dec. of

Woebbeking, ¶ 41.)

159.    When reviewing inmate text messages, TCJ corrections officers are able to see

whether the message was incoming or outgoing; the date and time the message was

sent or received; the participating inmate’s name; the participating inmate’s designated

texting phone number; the status of the text (whether it was sent or if it was rejected by

the outside recipient); the outside party’s phone number; the outside party’s name as

designated by the inmate; and the content of the text. (Dec. of Woebbeking, ¶ 42.)

160.    A TCJ inmate participating in the iPad program is able to enter into his device a

name for each contact that is associated with the numbers to which he sends and from

which he receives text messages. For example, an inmate may designate a specific

phone number as belonging to “mom” even if the number does not actually belong to

the inmate’s mother. (Dec. of Woebbeking, ¶ 43.)

161.    There are 49 surveillance cameras located throughout TCJ. The jail has a “POD”

configuration wherein it monitors all the cameras throughout the jail from the control

pod 24 hours a day, 7 days a week. Any jail staff member can review the camera footage

at any time, and any other officer on duty can view the camera feeds in real-time from

the control pod. (Dec. of Woebbeking, ¶ 44.)

162.    The control pod is considered the “nerve center” of the facility. The officer

assigned to the control pod must monitor not only the camera systems but also all

doors, alarms, phones, and intercoms. (Dec. of Woebbeking, ¶ 45.)

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163.    The control pod officer must visually observe all inmates and must also monitor

all officers while they are in contact with inmates. In addition to monitoring multiple

systems, the control pod officer must also maintain all applicable logs and

documentation. (Dec. of Woebbeking, ¶ 46.)

164.    Although the assigned control pod officer is required to observe all inmates via

the camera systems, the officer cannot watch all inmates simultaneously and is not

expected to do so. (Dec. of Woebbeking, ¶ 47.)

165.    The control pod is never left unattended. (Dec. of Woebbeking, ¶ 48.)

166.    Only one officer needs to be in the control pod at a time. The other officers on

duty may be completing rounds, responding to inmate requests, or walking the floor.

(Dec. of Woebbeking, ¶ 49.)

167.    TCJ has an intercom system wherein each pod has a phone that, when picked up

by an inmate, rings to the control pod. The intercom system only allows an inmate to

communicate directly with the guard assigned to the control pod and vice versa. It

cannot be used to communicate with any other officers unless they are in the control

pod. (Dec. of Woebbeking, ¶ 50.)

168.    While use of the intercom system is supposed to be limited to true emergencies,

inmates frequently use the phone to contact the control pod about relatively mundane

issues, including questions about the date of their next court hearing, asking if they

have a visitor, asking for more toilet paper, etc. (Dec. of Woebbeking, ¶ 51.)

169.    It is not unusual for inmates to use the intercom system to call the control pod at

all hours of the day to discuss or request any number of things. (Dec. of Scoles, ¶ 24;

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Dec. of Bernas, ¶ 26; Dec. of Sackman, ¶ 27; Dkt. No. 44, ¶ 20; Dec. of Woebbeking, ¶

52.)

170.    At the relevant time period, TCJ did not have any kind of video communication

system for use by inmates. A video communication system was not implemented until

February 20, 2021. (Dec. of Woebbeking, ¶ 53.)

                                DEFENDANT CHEEVER

171.    During the first several months of Mr. Noeldner’s incarceration, he often spoke

with Defendant Cheever about his cases, things that were stressing him out, and

problems he was having. He would speak to Defendant Cheever as she passed by for

rounds, and he would also speak to Defendant Cheever by calling her on the jail

intercom when Defendant Cheever was working in the control pod. (Dkt. No. 44, ¶ 18;

Dkt. No. 41, p. 29.)

172.    When Mr. Noeldner spoke with Defendant Cheever about his cases, his stresses,

or his problems, Defendant Cheever generally listened to him and tried to provide

feedback or guidance where appropriate. (Dkt. No. 44, ¶ 19.)

173.    Inmates often called the control pod via the intercom to talk to correctional

officers at all hours. Therefore, the fact that Mr. Noeldner called to talk to her during the

night shift did not strike Defendant Cheever as particularly unusual. (Dkt. No. 44, ¶ 20.)

174.    Defendant Cheever believed that listening to inmate complaints and letting

inmates vent is all part of the job of being a corrections officer, because it helps alleviate

stress and tension in housing blocks and generally encourages inmates to be

cooperative with staff. (Dkt. No. 44, ¶ 21.)

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175.    By about August of 2018, Mr. Noeldner began calling Defendant Cheever more

frequently on the intercom and was becoming more friendly in his tone and topics of

conversation. (Dkt. No. 44, ¶ 25.)

176.    Defendant Cheever escorted Mr. Noeldner to the TCJ medication room to

retrieve over-the-counter medications he was requesting. By around August of 2018,

Mr. Noeldner was becoming more friendly and flirtatious with Defendant Cheever

during these short trips. (Dkt. No. 44, ¶ 22-24.)

177.    By approximately the middle of August, 2018, Mr. Noeldner passed Defendant

Cheever a romantic letter when she came to his cell block to retrieve the unit’s request

sheet for the day. (Dkt. No. 44, ¶ 26; Dkt. No. 41, p. 24-26.)

178.    Mr. Noeldner handed Defendant Cheever the request sheet. She then discovered

that he had concealed a letter to her that he had placed underneath the request sheet so

that it was hidden from view of the surveillance cameras. (Dkt. No. 44, ¶ 26; Dkt. No.

41, p. 26.)

179.    On August 15, 2018, Defendant Cheever began sending Mr. Noeldner text

messages to his jail-issued iPad. (Dkt. No. 44, ¶ 27.)

180.    Defendant Cheever knew that TCJ inmate text messages were routinely

monitored and reviewed by corrections officers. (Dkt. No. 44, ¶ 28.)

181.    Defendant Cheever knew that if anyone discovered that she was texting with Mr.

Noeldner, she would be disciplined. (Dkt. No. 44, ¶ 29.)

182.    Defendant Cheever proactively took multiple steps to try to ensure that no one

learned about her text messages with Mr. Noeldner. (Dkt. No. 44, ¶ 30.)

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183.    Defendant Cheever told Mr. Noeldner not to refer to her as “Bailee” in their text

conversations because their texts were monitored by other corrections officers, and they

never used her real name. (Dkt. No. 41, p. 23.)

184.    Mr. Noeldner eventually asked Defendant Cheever to put money on his iPad

texting account so that they could continue texting, because each text message costs the

inmate $0.09 and they were going through $20.00 per day in text messages. (Dkt. No. 44,

¶ 31; Dkt. No. 41, p. 34-35.)

185.    Defendant Cheever initially declined to put money on Mr. Noeldner’s account

for text messages because she had a joint bank account with her husband. She knew that

the charge would show up on her bank account statements and she did not want her

husband or anyone else to know that she was texting Mr. Noeldner. (Dkt. No. 44, ¶ 32.)

186.    When Defendant Cheever did eventually put money on Mr. Noeldner’s account

for text messages, she did so by using pre-paid debit cards. In this way, her bank

account statement would not reflect how that money was being spent and this reduced

the chances that anyone would find out. (Dkt. No. 44, ¶ 33.)

187.    Defendant Cheever did not text with Mr. Noeldner while she was working

because she did not want any of her co-workers to see that she was texting someone in

case they would inquire about the texts. (Dkt. No. 44, ¶ 34.)

188.    Defendant Cheever did not text with Mr. Noeldner when her husband was home

because she did not want him inquiring about her text conversations and finding out

about her relationship with Mr. Noeldner. (Dkt. No. 44, ¶ 35.)



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189.    Defendant Cheever installed an application on her phone, called TextNow, to

text with Mr. Noeldner. (Dkt. No. 44, ¶ 36.)

190.    The TextNow application sends the user’s text messages from a randomly

assigned phone number. Defendant Cheever used this application so that her personal

cell phone number would not appear on any of Mr. Noeldner’s text messages. (Dkt. No.

44, ¶ 37.)

191.    Texts sent using the TextNow application do not show up on the user’s phone

bill. (Dkt. No. 44, ¶ 38.)

192.    By approximately the end of August, 2018, Mr. Noeldner and Defendant Cheever

had engaged in light flirtatious touching while they were in the medication room

together. They had also kissed each other at least once in the medication room. (Dkt.

No. 44, ¶ 39.)

193.    Defendant Cheever was aware and understood that kissing and even light

flirtatious touching between corrections officers and inmates was prohibited. (Dkt. No.

44, ¶ 40.)

194.    Defendant Cheever knew that while she and Mr. Noeldner were in the

medication room, they would not be visible on surveillance cameras. (Dkt. No. 44, ¶ 41-

42.)

195.    Mr. Noeldner and Defendant Cheever discussed how and where to stand and

moved the medication desk in the medication room so that they would not be seen on

the surveillance cameras. (Dkt. No. 41, p. 146-147; Dkt. No. 44, ¶ 44.)



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196.    The only location that Mr. Noeldner and Defendant Cheever had any kind of

physical contact was in the medication room of TCJ. (Dkt. No. 44, ¶ 43.)

197.    By the beginning of September, 2018, Defendant Cheever’s intercom

conversations with Mr. Noeldner were becoming longer in duration and more frequent.

(Dkt. No. 44, ¶ 45.)

198.    At times, other corrections officers were present in the control pod when Mr.

Noeldner called to speak to Defendant Cheever or called to ask for medications. (Dkt.

No. 44, ¶ 46.)

199.    Defendant Cheever never spoke about sexual topics with Mr. Noeldner on the

jail intercom. (Dkt. No. 44, ¶ 47.)

200.    On September 10, 2018, Defendant Cheever and Mr. Noeldner had sexual

intercourse in the medication room of TCJ. (Dkt. No. 44, ¶ 48.)

201.    This was the only time Defendant Cheever and Mr. Noeldner ever had sexual

intercourse. (Dkt. No. 44, ¶ 48.)

202.    At all relevant times, Defendant Cheever knew that having sexual intercourse

with an inmate was wrong and was strictly prohibited. She knew that if anyone found

out, she would be fired. (Dkt. No. 44, ¶ 49-50.)

203.    Based on her training and TCJ’s policies, Defendant Cheever was aware that her

sexual and physical contact with Mr. Noeldner was prohibited. (Dkt. No. 44, ¶ 61.)

204.    During the middle of September, 2018, Defendant Cheever and Mr. Noeldner

continued having conversations over the jail’s intercom system. Their conversations



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over the intercom remained causal, but they never discussed anything sexual in nature.

(Dkt. No. 44, ¶ 51.)

205.    Defendant Cheever is not aware of any other corrections officer overhearing any

intercom conversation between Defendant Cheever and Mr. Noeldner. (Dkt. No. 44, ¶

52.)

206.    By the middle of September, 2018, Defendant Cheever and Mr. Noeldner had

engaged in sexual touching in the medication room when she was working during the

night shift. (Dkt. No. 44, ¶ 53.)

207.    Each time Defendant Cheever and Mr. Noeldner had sexual contact, Defendant

Cheever made sure that her uniform was in place and tidy when she left the medication

room so that no one would have any reason to suspect that they had just engaged in

sexual contact. (Dkt. No. 44, ¶ 55.)

208.    Defendant Cheever is not aware of any other corrections officer seeing any

sexual contact between her and Mr. Noeldner anywhere in the Jail. (Dkt. No. 44, ¶ 54.)

209.    As of September 18, 2018, Defendant Cheever had no idea that anyone knew

about or had any suspicions about the nature of her contacts with Mr. Noeldner. (Dkt.

No. 44, ¶ 56.)

210.    Defendant Cheever never told anyone about her sexual contacts with Mr.

Noeldner until she was interviewed by detectives from the Marathon County Sheriff’s

Office on September 20, 2018. (Dkt. No. 44, ¶ 60.)




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211.    Defendant Cheever pled no contest to the one count of sexual assault in violation

of Wis. Stat. § 940.225(3)(a). She was subsequently found guilty of that charge. (Dkt. No.

44, ¶ 65.)

                                 ADDITIONAL FACTS

212.    Mr. Noeldner has no evidence or personal knowledge to support any claim of

wrongdoing against Officer Scoles. (Dkt. No. 41, p. 88-90.)

213.    Mr. Noeldner has no evidence or personal knowledge to support any claim of

wrongdoing against Officer Bernas. (Dkt. No. 41, p. 90-92.)

214.    Mr. Noeldner has no evidence or personal knowledge to support any claim of

wrongdoing against Officer Sackman. (Dkt. No. 41, p. 92-93.)

215.    Mr. Noeldner was aware that his inmate text messages were being monitored,

but he has no personal knowledge of how they were monitored. (Dkt. No. 41, p. 101.)

216.    Officer Bernas knew that other officers also received and handled medication

requests from Plaintiff, so they were not directed solely to Defendant Cheever. (Dec. of

Bernas, ¶ 34.)

217.    Mr. Noeldner and Defendant Cheever would not “talk freely” when someone

else was in the control pod with Defendant Cheever. (Dkt. No. 41, p. 59-60.)

218.    Mr. Noeldner has no idea whether or what other officers heard of his intercom

conversations with Defendant Cheever. (Dkt. No. 41, p. 90, 92-93.)

219.    At minimum, officers reviewing the text messages between Mr. Noeldner and

Defendant Cheever would have needed to “read into them” to suspect that the texts

were being sent to and from Defendant Cheever. (Dkt. No. 41, p. 101.)

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220.    Mr. Noeldner purposely asked officers other than Defendant Cheever for

medications “to make it look like I was still asking when [Defendant Cheever] wasn’t

working… [in order] to cover—try to cover the fact that I was only asking when she

was on [duty].” He requested medications from “numerous guards,” including Officer

Bernas. (Dkt. No. 41, p. 33.)

221.    Mr. Noeldner was familiar with TCJ’s jail rules. (Dkt. No. 41, p. 105.)

222.    Mr. Noeldner knew contemporaneously that his contact with Defendant Cheever

would constitute sexual misconduct under the applicable inmate rules and jail policies.

(Dkt. No. 41, p. 105.)

223.    Mr. Noeldner knew contemporaneously that speaking with Defendant Cheever

on the intercom was inappropriate. (Dkt. No. 41, p. 124.)

224.    Defendant Cheever notified and informed Mr. Noeldner “quite a few times” that

their physical contact was not allowed. (Dkt. No. 41, p. 141.)

225.    Mr. Noeldner never made any attempt to report the sexual abuse perpetrated by

Defendant Cheever and instead decided to “let[ ] the situation play out.” (Dkt. No. 41,

p. 110.)

226.    Mr. Noeldner knew about PREA and what it meant before the relevant time

period, because he learned about it during one or more prison stays in 2015 or 2016.

(Dkt. No. 41, p. 152-153.)

227.    Mr. Noeldner knew contemporaneously that the sexual contact with Defendant

Cheever was not allowed and he knew he could report it. (Dkt. No. 41, p. 105-106.)



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228.    Mr. Noeldner entered Defendant Cheever’s contact information name on his jail-

issued iPad as “Lovey.” (Dkt. No. 41, p. 22.)



        Dated this 31st day of May, 2022.

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